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                                     UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MAINE


 In re:
                                                                      Chapter 13
 JOHN GOODWIN,
                                                                      Case No. 16-20503
                                    Debtor(s)
                                      FIRST AMENDED CHAPTER 13 PLAN
The debtor or debtors (hereinafter “debtor”) proposes the following plan. The debtor submits the following
income and property to the trustee for the execution of the plan.
1.    Plan Payments.
     (A) Base Plan:
         (1) Debtor has paid the Trustee $12,865.00 over 13 months. Commencing Month 14, he will continue to
     pay $1,965.00 per month Months 14-23, followed by $2,400.00 per month Months 24-60.
          (2) The debtor will also pay the trustee the following: $9,548.24 by Month 48 from workers
              compensation claim and/or adversary proceeding for automatic stay violations
          (3) The total base plan amount is approximately $130,863.24
     (B) The plan shall be 60 months long.
     (C) In addition to the base plan amount, the debtor will pay the trustee all tax refunds (combined federal and
         state) in excess of $1,200 per year, per debtor.
     (D) The Applicable Commitment Period is 36 months as provided by 11 U.S.C. § 1325(b)(4).
2.    Administrative Expense Claims.
     (A) The trustee shall pay the following administrative expense claims in full:
          (1) Trustee’s statutory fees as allowed by 28 U.S.C. § 586:                  $13,086.32
              (Estimated to be 10% of the total plan payments.)
          (2) Debtor’s attorney fees to be paid by the trustee (if any):                  $1,500.00
          (3) Other (describe):                                                                 $0.00
     (B) Administrative reserve (if any):                                                 $2,500.00
          Any unused portion of the administrative reserve shall be paid pro rata to general unsecured claims that
          have not otherwise been paid in full.
3.    Secured Claims. Claims secured by property of the estate shall be paid as follows:
     (A) Preconfirmation Adequate Protection and Lease Payments. The trustee shall make adequate protection
         payments on the following secured claims and unexpired leases prior to confirmation of the plan from
         funds paid by the debtor as follows, pursuant to 11 U.S.C. § 1326(a)(1). A proof of claim must be filed
         before the trustee shall make such payments.

           Creditor Name                        Collateral                            Details




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(B) Ongoing Mortgage Payments.
    (1) By the Debtor. The debtor shall make current monthly mortgage payments directly to creditors as
        follows, starting with the first payment due after the filing of the petition or the conversion of the case
        to Chapter 13, whichever is later, unless otherwise indicated. The debtor shall increase or decrease
        the payments to reflect changes in variable interest rates, escrow requirements, or similar matters.
        The lien securing each claim shall not be impaired. The underlying claim shall not be discharged
        pursuant to 11 U.S.C. § 1328 unless the debtor surrenders the property during the term of the plan or
        the Court grants relief from the automatic stay permitting the creditor to enforce its interests against
        the property.

 Creditor Name                 Collateral                                       Terms

   Nationstar                  Residence                         Per contract commencing Month 61


    (2) By the Trustee. Upon confirmation, or as provided in paragraph 3(A) above, the trustee shall make
        current monthly mortgage payments to creditors from funds paid by the debtor as follows, starting
        with the first payment due after the filing of the petition or the conversion of the case to Chapter 13,
        whichever is later, unless otherwise indicated. A proof of clam must be filed before the trustee shall
        make such payments. The trustee shall increase or decrease the payments to reflect changes in
        variable interest rates, escrow requirements, or similar matters after receipt of notice of changes
        issued by the mortgage holder or its agent. Payments made by the trustee pursuant to this paragraph
        shall constitute full periodic compliance with the existing contract between the debtor and each such
        creditor. The lien securing each claim shall not be impaired. The underlying claim shall not be
        discharged pursuant to 11 U.S.C. § 1328 unless the debtor surrenders the property during the term of
        the plan or the Court grants relief from the automatic stay permitting the creditor to enforce its
        interests against the property. The debtor shall resume direct payments on these claims at the
        conclusion of the plan or as otherwise provided below.

         Creditor Name                                  Collateral                      Monthly Payment


(C) Other Secured Claims Not Paid By Trustee. The following secured claims shall be paid directly by the
    debtor or a third party pursuant to the existing contract(s). The lien securing each claim shall not be
    impaired. Each claim to be paid by the debtor shall not be discharged pursuant to 11 U.S.C. § 1328
    unless (i) the debtor surrenders the collateral during the term of the plan, (ii) the Court orders the return of
    the collateral, or (iii) the Court grants relief from the automatic stay authorizing the creditor to enforce its
    interests against the collateral.

     Creditor Name                             Collateral                               Details


(D) Arrearages on Secured Claims. The trustee shall pay arrearages on secured claims to cure defaults from
    funds paid by the debtor as follows. Payment by the trustee of the allowed amount of arrears shall
    constitute a complete cure of all prepetition defaults. A proof of claim must be filed before the trustee
    shall make such payments. Unless otherwise provided, the amounts of arrears stated below are estimates
    only, and the actual allowed amounts shall be subsequently determined (such as through the claims
    allowance process).




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                                                 Interest            Total
                                 Amount of        (Rate &         Arrears and                        Payment Schedule
Creditor Name      Collateral
                                  Arrears        Estimated          Interest                    (Pro rata, fixed payments, etc.)
                                               Dollar amount)      (Estimated)



    (E) Secured Claims Where § 506 Not Applicable (“910 Claims”). The trustee shall pay the following claims,
        to which 11 U.S.C. § 506 is inapplicable, in full, plus allowed interest from funds paid by the debtor as
        provided below. See 11 U.S.C. § 1325(a) “Hanging Paragraph”. A proof of claim must be filed before
        the trustee shall make such payments. Unless otherwise provided, the claim amounts stated below are
        estimates only, and the actual allowed amounts shall be subsequently determined (such as through the
        claims allowance process).

Creditor                    Claim                Interest                Total Claim
            Collateral                                                                                   Payment Schedule
 Name                      Amount
                                        (Rate & Estimated Dollar         and Interest                (Pro rata, fixed payments, etc.)
                                                amount)                      (Estimated)



    (F) Secured Claims Where § 506 Applicable (“Non-910 Claims”). The trustee shall pay the following
        secured claims, to which 11 U.S.C. § 506 is applicable, in full or to the lesser extent of the value of the
        collateral plus allowed interest, from funds paid by the debtor as provided below. A proof of claim must
        be filed before the trustee shall make such payments. Unless stated otherwise, confirmation of the plan
        is a judicial determination pursuant to 11 U.S.C. §§ 506(a) and 1327(a) that the value of the
        collateral is the amount set forth below at “allowed claim amount.” Any undersecured portion of
        such claim shall be treated as unsecured.

                                             Allowed              Interest          Total Claim and
Creditor Name            Collateral           Claim         (Rate & Estimated          Estimated                Payment Schedule
                                                                                                            (Pro rata, fixed payments, etc.)
                                             Amount           Dollar amount)            Interest

                                                                                       $17,179.20           Lump sum of $17,179.20
      IRS                Residence       $16,531.00             3%($648.20)
                                                                                                                by Month 30

                                                                                       $16,881.60           Lump sum of $16,881.60
     MRS                 Residence       $15,890.48             7%($991.12)
                                                                                                                by Month 20

                                                                                       $15,451.55              $4,313.20 Month 30;
    Deering              Residence       $15,451.55                N/A                                       $1,750.00/mo. Mos. 31-
                                                                                                              36; $563.35 Month 37

  Kennebunk                                                                                $100.00
                         Equipment           $100.00               N/A                                          $100.00 Month 15
   Savings



    (G) Collateral To Be Surrendered. The debtor consents to relief from the automatic stay pursuant to 11
        U.S.C. § 362(d) to permit the following creditors to enforce their state-law interests against the following
        collateral. Any deficiency claim filed by such creditor following the disposition of such collateral will be
        treated as unsecured. The debtor’s consent does not affect the interests of the trustee or any co-obligor.




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          Creditor Name                              Collateral                                      Details

              Aspen                                  Timeshare                         Confirmation order deemed order
                                                                                            surrendering timeshare


     (H) Cessation of Trustee Payments Upon Relief from Automatic Stay. The trustee is authorized to cease
         payments on the secured portion of any claim where either (1) the holder of the claim is granted relief
         from the automatic stay to permit it to enforce its interests against the collateral under state law
         immediately, or (2) the holder of the claim is granted relief from the automatic stay conditionally (such as
         in an adequate protection order) where the holder would be permitted to enforce its interests against the
         collateral under state law upon the occurrence of a specific event and such event has occurred.
4.    Executory Contracts & Unexpired Leases.
     (A) Assumption. The following executory contracts and unexpired leases are assumed. The debtor shall pay
         directly all payments due under the terms of the agreement(s) between the debtor and each creditor after
         the filing of the bankruptcy or the conversion of the case to Chapter 13, whichever is later, according to
         the existing agreement(s).

          Creditor Name                            Leased Property                                   Details
                                                     (if applicable)



     (B) Cure of Defaults. Monetary defaults on any executory contract or unexpired lease assumed by the debtor
         shall be cured by payment of prepetition arrears by the trustee from funds paid by the debtor as follows.
         Payment will be made concurrently with payment to secured claims. Payment by the trustee of the
         allowed amount of such arrears shall constitute a complete cure of all prepetition monetary defaults. A
         proof of claim must be filed before the trustee shall make such payments. Unless otherwise provided, the
         arrears stated below are estimates only, and the actual allowed amounts shall be subsequently determined
         (such as through the claims allowance process).

                                                   Amount of               Interest        Total Arrears       Payment Schedule
     Creditor Name        Leased Property
                             (if applicable)        Arrears
                                                                       (Rate & Estimated    and Interest         (Pro rata, fixed
                                                                         Dollar amount)      (Estimated)         payments, etc.)



     (C) Any executory contract or unexpired lease not assumed is rejected upon confirmation of the plan.
5.    Priority Claims. Unsecured claims entitled to priority under 11 U.S.C. § 507(a) shall be paid as follows.
      Unless otherwise provided, the amounts of priority claims stated below are estimates only, and the actual
      allowed amounts shall be subsequently determined (such as through the claims allowance process).
     (A) Domestic Support Obligations. (Check One)
         (1) [] The debtor has no domestic support obligations; or
         (2) [] The debtor has one or more domestic support obligations.
                 (a) The debtor shall pay all post-petition domestic support obligations directly to the holder of
             each claim; and
                  (b) The trustee shall pay the following claims for arrears on domestic support obligations, in
             full, unless otherwise indicated. A proof of claim must be filed before the trustee shall make such
             payments.


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                    Creditor Name                                        Claim Amount



     (B)       Other Priority Claims. The trustee shall pay the following priority claims, in full, unless otherwise
           indicated. A proof of claim must be filed before the trustee shall make such payments.

            Creditor Name                       Nature of Priority                      Claim Amount
                                             (such as tax obligations)

                 IRS                                  Taxes                              $52,572.42


                MRS                                   Taxes                              $10,592.15



6.    General Unsecured Claims. The trustee shall pay unsecured claims not entitled to priority from funds paid
      by the debtor as follows. The debtor estimates the total of all general unsecured (including undersecured)
      claims to be $193,000.00.
     (A)       Classes One and Two.
           (1) Class One. Class One consists of all general unsecured claims not otherwise specifically described.
           (2) Class Two ~ Small Claims. A “small claim” is any general unsecured claim that is $50 or less, which
           the trustee shall pay in full, or any general unsecured claim greater than $50 for which the pro rata
           dividend would be less than $50, on which the trustee shall pay a dividend of $50. Small claims may be
           paid promptly at the discretion of the trustee.
           (3) Minimum Distribution. The total to be paid by the trustee to Class One and Class Two (Small
           Claims) shall be at least $1,000.00, with each Class One claim to receive a pro rata share of the funds
           available after payment of Small Claims. The actual amount to be paid on each Class One claim shall be
           determined later in the case.
     (B) Other Classes. Describe, if applicable: N/A.
7.    Interim Distribution. Interim Distribution may be made pursuant to court order to provide adequate
      protection and/or payment to undisputed and timely filed secured, priority, executory contract and unexpired
      lease claims as provided by the plan.
8.    Liquidation Test ~ 11 U.S.C. § 1325(a)(4). If the debtor’s estate were liquidated under Chapter 7 rather than
      reorganized under Chapter 13, the amount that would be paid on priority and general unsecured claims is at
      least $1,000.00. The debtor certifies that at least this cash amount, or such lesser amount as is necessary to
      repay unsecured creditors in full, will be paid to the Chapter 13 trustee for the benefit of allowed general and
      priority unsecured creditors.
9.    Jurisdiction Retained. Property of the estate not paid to the trustee shall remain in the possession of the
      debtor. All property of the estate, whether in the possession of the trustee or the debtor, remains property of
      the estate subject to the Court’s jurisdiction, notwithstanding 11 U.S.C. § 1327(b).
10. Special Provisions. The following other special provisions of the plan appear on the attached separate
    schedules as indicated.
     (A)       [ ] No other special provisions.
     (B)       [ ] Schedule I – Co-debtor matters (11 U.S.C. §§ 1301 and 1322(b)(1))


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   (C)     [ ] Schedule II – Lien avoidance (11 U.S.C. § 522)
    (D)    [ ] Schedule III – Sale of property (11 U.S.C. § 363)
    (E)    [ ] Schedule IV – Injunctive relief (Fed. R. Civ. P. 2002(c)(3) and 7001(7))
    (F)     [] Schedule V – Other
                                                             Signed:

Date: October 3, 2017                                        /s John Goodwin
                                                             John Goodwin, Debtor


Date: October 3, 2017                                        /s/ J. Scott Logan
                                                             J. Scott Logan, Esq.
                                                             Attorney for Debtor(s)
                                                             75 Pearl Street Ste. 211
                                                             Portland, ME 04101
                                                             207-699-1314
                                                             scott@southernmainebankruptcy.com


                                            PLAN RECONCILIATION


                Plan Total                                                                $130,863.24
                Disbursements:
                   Trustee Statutory Fees                                                  $13,086.32
                   Attorney Fees Through Plan                                               $1,500.00
                   Administrative Expense Reserve                                           $2,500.00
                   Other Administrative Expense Claims                                          $0.00
                   Secured Claims Including Interest                                       $49,612.35
                   Unexpired Leases & Executory Contracts                                       $0.00
                   Priority Claims                                                         $63,164.57
                   General Unsecured Claims: Class One and Class Two                        $1,000.00
                   General Unsecured Claims: Special Classes                                    $0.00
                   Other: (describe)                                                            $0.00


                Total Disbursements (Should Equal Plan Total)                             $130,863.24




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